              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                     1:19-CR-00027-MOC-WCM-4

UNITED STATES OF AMERICA                   )
                                           )
v.                                         )                  ORDER
                                           )
LINDA MICHELLE PATINO                      )
                                           )

      This matter is before the Court on Government’s Motion to Seal Exhibit

to Response (Doc. 132), which seeks an order sealing Exhibit 1 to the

Government’s Response to Defendant’s Motion for Compassionate Release

(Doc. 131, Exhibit 1).

      In evaluating a motion to seal, the Court must “(1) provide public notice

of the request to seal and allow interested parties a reasonable opportunity to

object, (2) consider less drastic alternatives to sealing the documents, and (3)

provide specific reasons and factual findings supporting its decision to seal the

documents and for rejecting the alternatives.” Ashcraft v. Conoco, Inc., 218

F.3d 288, 302 (4th Cir. 2000).

      The undersigned has considered the Motion to Seal, the public’s interest

in access to the Exhibit, and alternatives to sealing.




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      The Exhibit contains Defendant’s personal medical records, including

information on Defendant’s physical health, diagnoses, and personal

identifying information.

      The Motion to Seal has appeared on the docket since the Government

filed it on October 8, 2021. The Motion does not indicate Defendant’s position,

however the Motion states the Government is asking for the sealing of these

materials out of concern for Defendant’s own privacy.

      Under these circumstances, the undersigned concludes that the

Government has made the required showing and will allow the Motion, subject

to further consideration should a motion to unseal the Exhibit be made at a

later time.

      IT IS THEREFORE ORDERED THAT the Government’s Motion to

Seal Exhibit to Response (Doc. 132) is GRANTED, and Exhibit 1 to the

Government’s Response to Defendant’s Motion for Compassionate Release

(Doc. 131, Exhibit 1) is SEALED and shall remain sealed until further Order

of the Court.

                                  Signed: October 13, 2021




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